  Case: 1:18-cv-00965 Document #: 1 Filed: 02/06/18 Page 1 of 11 PageID #:1
                                                         please attach an additional sheet and relerence that section.]
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                                                                                                                    {
                                UNITED STATES DISTRICT COURT                                           E II I
                            FOR THE NORTHERN DISTRICT OF ILLINOISI
                                                                                                                                 E
                                      EASTERN DIVISION                                                              -
                                                                                                               FEB        -6     2018


     KAREN A. BATES                                         )                                          cLEHSUtSB'R[YI8**'
                                                            )
                                                            )
                                                            )
                                                            )          CIVIL ACTION
(Name of the    plaintiffor       plaintiffs)               )
                                                            )
                  v.)NC
      CITY OF CHICAGO                                                       :18-cn-00965
                                                                            1

                                                                           JgOg" John Robert Btakey
                                                                           Magishate Judge Jefteyi. Gitbert

(Name ofthe defendant or             defendants)            )



                        COMPLAINT OF EMPLOYMENT DISCRIMINATION

1.   This is an action for employment discrimination.

2.   The plaintiff is                                           Karen A. Bates                                                  of the


county   of                   Cook                                  in the state   of       lllinois


3.   The defendant       is          CitY of Ghicago                                                                    .   )   whose


street address    is           121 North LaSalle Street


(city)--g!cago-Jcounty)--- coo!--(state)-- Illinols -(ZP)--99991
(Defendant's telephone number) L-119 - 744-5777



4.   The plaintiff sought employment or was employed by the defendant at (street address)

                       121 N. Lasalle St.                                           (city)      cnicago


     (county)       Cook             (state)-!!!inois           (ZIP   code)      60602

                                                        -


                                                          please attach an additional sheet and reference that section.]
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     Case: 1:18-cv-00965 Document #: 1 Filed: 02/06/18 Page 2 of 11 PageID #:1

            [lf you need additional space for ANY section, please aftach an additional sheet and reference that section.]




5.   The plainti ff [check one boxf

     (u)E            was denied employment by the defendant.

     (b)E            was hired and is still employed bythe defendant.

     (.)EI           was employed but is no longer employed by the defendant.


6.   The defendant discriminated against the plaintiff on or about, or beginning on or about,
     (month)_____e!r*gt!y!y-,(day)-,(year)                                   zoog




7.1     (Choose oarasraoh 7.1 or 7.2, do not comolete both.)

                    (a) The defendant is not a federal governmental agency, and the plaintiff lcheck

                             one   boxf   Aootffiro,                   filed a charge or charges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the following
govemment agencies:


         (D          [         ,n. United     States Equal Employment OpportunityCommission, on or about

                     (month)        4q1                (day)___15_ (year)

         (ii) ffi              ,n.Illinois Department of Human Rights, on or about

                     (month)          nPrrt            (day)___15__          (year)        zoto

     (b) If charge       s   were filed with an agency indicated above, a copy of the charge is


attached.       E VeS. E                      *O, but plaintiffwill file a copy of the charge within                    14 days.


It is the policy of both the Equal Employment Opportunity Commission                                and the    Illinois

Department of Human Rights to cross-file with the other agency all charges received. The
plaintiff   has no reason to believe that this policy was not followed in this case.



7.2         The defendant is a federal governmental agency, and
         (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

         defendant asserting the acts of discrimination indicated in this court complaint.



                                                                   2


              [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
 Case: 1:18-cv-00965 Document #: 1 Filed: 02/06/18 Page 3 of 11 PageID #:1
                                                                                       and reference that section.]
      [lf you need additional space for ANY section, please attach an additional sheet




                   tr          Yes (month)                                   (day)_              (year)


                   tr          No, did not file Complaint of Employment Discrimination


     O)      The plaintiff received a Final Agency Decision on (month)

             (dav)                    (vear)

     (c)     Attached is a copy of the

              (i) Complaint
                   -        of Employment Discrimination,

                   E                  E *o, but a mpy will be filed within 14 days.
                          "rS
              (ii) Final Agency Decision


                   n ttt               E *o, but a copy will be filed within 14 days.

8.   (Complete paragraph          I only if defendant is not afederal              governmental agency.)


     ruln          the United States Equal Employment Opportunity Commission has not issued


                    aNotice of Right to Sue.

     (b)E           the United States Equal Employment Opporhrnity Commission has issued a


                   Notice of Right to Sue, which was received by the plaintiff on
                    (month)           Novemoer        (day)-?9-             (year)-    :911-         a copy    ofwhich
                    Notice is attached to this complaint'


g.   The defendant discriminated against the plaintiff because ofthe plaintiff s fcheck only

     those that    app$i

     (u)E       Age (Age Discrimination Employment Act).

     0)E        Color (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).



                                                             3


       [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
  Case: 1:18-cv-00965 Document #: 1 Filed: 02/06/18 Page 4 of 11 PageID #:1

       [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




      (.)E        Disability (Americans with Disabilities Act or Rehabilitation Act)

      (On         National Origin (Title Vtr of the Civil Rights Act                   of   1964 and42 U.S.C. $1981).

      (.)E        Race (Title     VII of the Civil Rights Act of             1964 and42 U.S.C. $1981).

      (DE         Retgion (Title VII of the Civil Rights Act of 1964)

      e)E         Sex (Title     VII ofthe Civil Rights Act of             1964)


10.   If the defendant is a state, county, municipal (city, town or village) or other local
      governmental agency, plaintifffurther alleges discrimination on the basis of race, color,

      or national origin (42 U.S.C. $ 1983).

ll.   Jurisdiction over the statutory violation alleged is conferred as follows: for Title                               Vtr
      claims by 28 U.S.C.$1331, 28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(f)(3); for

      42 U.S.C.$ 1981 and $ 1983 by 42 U.S.C.$1988; for the A.D.E.A. by 42 U.S.C.$121 l7;

      for the Rehabilitation Act, 29 U.S.C. $ 791.


t2.   The defendantlcheck only those that applyl


      (u)E            failed to hire the plaintiff.

      0)M             terminated the plaintiff         s   employment.

      (.)E            failed to promote the plaintiff.

      (d)E            failed to reasonably accommodate the plaintiff                   s   religion.

      (")E            failed to reasonably accommodate the plaintiff s disabilities.

      (.rB            failed to stop harassment;

      erB             retaliated against the plaintiff because the plaintiffdid something to assert
                       rights protected by the laws identified in paragraphs 9 and 10 above;

      G)EI            Othef (SpeCi&)i          Plaintiff incomorates bv reference the attegations in the attached Charoe of Discrimination




                                                              4


       [f you need additional space for ANY section, please attach    an additional sheel and reference that section.]
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         [lf you need additional space for ANY section, please attach an additional sheet and reference that section.l




13.     The facts supporting the plaintiff s claim of discrimination are as follows:

                Plaintiff incorporates by reference the allegations in the attached Charge of Discrimination




14.     IAGE DISCRIMINATION ONLYI Defendant knowingly, intentionally, and willfully
        discriminated against the plaintiff.

15.     The   plaintiff demands that the         case be tried bya        jury.   ffi vfS E                 *O

16.      THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
      lcheck only those that apply)


  (")E           Direct the defendant to hire the plaintiff.

  1b)XI          Direct the defendant to re-employthe plaintiff.

  (")E           Direct the defendant to promote the plaintiff.

  (OE            Direct the defendant to reasonably accommodate the plaintiff s religion.

  (.)E           Direct the defendant to reasonably accommodate the plaintiff                          s   disabilities.

  (0f]           Direct the defendant to (speciff):




                                                               5


          [lf you need additional space for ANY section, please attach an additional sheei and reference that section.]
  Case: 1:18-cv-00965 Document #: 1 Filed: 02/06/18 Page 6 of 11 PageID #:1

         [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




   (e)E            If available, grant the plaintiff appropriate injunctive relief, lost wages,
                   liquidated/double damages, front pay, compensatory damages, punitive darnages,
                   prejudgment interest, post-judgment interest, and costs, including reasonable
                   attorney fees and orpert witness fees.

   G)E             Grant such other relief as the Court may find appropriate.




   (Plaintiff s name)

       Karen A. Bates


   (Plaintifl    s street address)

     4752 N. Ashland A\renue, Unit   1




(City)__ll-99                            (State)    lllinois     (ZP)___10640

(Plaintiffs telephone number) (_gl4                -    se8-3003




                                                                6


         [f   you need additional space for ANY sec{ion, please aftach an additional sheet and reference that section.]
                          Case: 1:18-cv-00965 Document #: 1 Filed: 02/06/18 Page 7 of 11 PageID #:1

  EEOC Form


                       CHRnce oF DtscRtMtNATtoN                                                              Charge Presented        To:               Agency(ies) Charge No(s):
                   This form is affected by the Privacy Act See enclosed Privacy Act
                      Statement and other information before completing this form.      E FEPA
                                                                                        E EEoC
                                                           lllinois Department of Human Rights                                                                           and EEoc
                                                                             State or local Agency, if any
  Name (lndicate Mr.,

  Ms. Karen A. Bates
  Street Address
                         Ms., Mrs.)



                                                                                       City, State and Zlp Code
                                                                                                                                                                  r      Date of Birth




  47l2N.Ashland Avenue,Unit f ,Cfricagq lL                                      60640
  Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or Stiate or Local Govemment Agency                                   itrit   I Believe
  Discriminated Against Me or Others. (lf more than two are named, list under PARTTCUURS below.)
  Name                                                                                                                           No. Emdo)rees, Members        Phone No. with Area Code

  City of Chicago                                                                                                                         15+                   312-744-5777
  Street Address                                                                       City, State and ZIP   tue                -
  121 N. LaSalle, Chicago, lL 60602                                                                               rnFnr-ltEn trtrnn
 Name
                                                                                                                  ntru         lU{rr}6yar,filf#V               Phone No. with tuea Code


                                                                                                                             rnn t E OfllC
 Street Address                                                                        City, State and zlP   Code           ,-tl lr r u

               TION BASED ON (Check appropriate box(es).)
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                                                                                                                                          lTl    cor.rrrruurNcAcroN
 THE   P   RTICULARS ARE (ff additional   papr   is needed, attach extra sheet(s)):


  Iam an African American female. I was most reently hired by the City of Chicago on or about
  March 15, 2006 (but also pr€viously worked for the city). on or about Deembel gt,2o,4t I filed
 charge of discrimination, EEOC No. 440-2015-02000 against the City of Chicago and incorporate
 the allegations therein in this charge. After filing the chalge, the City of Chicago harassed me and
 subiected me to unequal terms and conditions or employment. The unequal terms and conditions
 of employment and harassment included, but was not limited to, micro-managing my work, telling
 me not to speak with my oo-workers and to higher level management (including aUout work
 complaints), making unfounded accusations and unprofessional statements about me, and
 creating unneoessary work assignments for me. f was discharged on or about June 24, 2O,rS. At
 the time of my discharge, I had filed internal EEO chalges alleging discrimination with itre City of
 Chicago and I have not received any nesolution rclating to said charyes. At the time of my
 dischalge, my job title was Director of News Affairc. However, I was assigned to do the job duties
 of a Frcedom of Information Officer for the City of Chicago, My termination letter did not state
 any neason for my discharge.


 page         ol2

I want this charge filed with both the EEOC and the State or local Agency, if any. lwill         NOTARY      -   When necessary for State ot Local Agency Requirements
advise the agencies if I change my address or phone number and I will cooperate fully
with them in the processing of my charge in accordance with thek procedures.
                                                                                                 I swear or affirm that I have read the above charge and that it is true to the
I declare under penalty of perjury that the above is       true and conect.                      best of my knowledge, information and belief.
                                                                                                 SIGNATURE OF COMPLAINANT



                                                                                                 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                                 (month, day, year)
                         Case: 1:18-cv-00965 Document #: 1 Filed: 02/06/18 Page 8 of 11 PageID #:1

t"
    EEOC Form 5 (5/ol


                        Cnnncr or DrscntMtNATtoN                                                               Charge Presented        To;           Agency(ies) Charge No(s):
                 This form is affected by the Privacy Act. See enclosed Privacy Act
                   Statement and other information before completing this form.                                     t]       FEnA

                                                                                                                    E        EEoC

                                                          lllinois Department of Human Rights                                                                              and EEOC
                                                                            State or   lxal   Aoencv. if anv
    THE PARTICULARS      ARE (Continued fton   previous page):


     I believe that I was discriminated against by the City of Chicago based on my raoe and sex and
     rctaliated against for filing an EEOC charge and other protected conduct in opposition to
     discrimination in that (as set forth above) the City of Chicago harassed me and subjected me to
     unequal terms and conditions of employment, discharged me, and failed to prooess my internal
     EEO Charyes. I identified Janualy 1, 2015 as the earliest date of discrimination in this charge
     because my earlier chatge of discrimination was filed on Deember 31, 2OL4.




    page 2 of 2




I want this charge filed with both the EEOC and the State or local Agency, if any. lwill           NOTARY      -   When necessary lor State or Local Agency Requirements
advise the agencies if I change my address or phone number and lwill cooperate fully
with them in the processing of my charge in accordance with their procedures.

                                                                                                   I swear or affirm that I have read the above charge and that it is true to the
I   declare under penalty of perjury that the above is true and conect.                            best of my knowledge, information and belief.
                                                                                                   SIGNATURE OF COMPLAINANT




udfzaZ P    aate
                                                                 -
                                                 Charging pafiy Signature
                                                                                                   SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                                   (month, day, year )
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                                                                U.S. Department of Justice
                                                                Civil Rights Division
                                                               NOTICE OF RICHT TO SUE WITHIN 90 DAYS

CERTIFIED MAIL                                                  950 Pennsylvania Avenue, N.W.
                                                               Karen Fergtson , EMP, PHB, Room 4701
7003 0s00 0002 s07l 6677                                       Washington, DC 205i0


                                                               November 08,2017
Ms. Karen A. Bates
c/o Robert R. Cohen, Esquire
Law Offices of Frankel & Cohen
53 W. Jackson Blvd.
Suite l6 r r
Chicago, lL 60604

Re: EEOC Charge Against City of Chicago       , et a1.
     No.440201603600

Dear Ms. Bates:

   Because you filed the above charge with the Equal Employment Opportunity Commission, and more
than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge, and no
suit based thereon has been filed by this Department, and because you through your attorney have
specifically requested this Notice, you are hereby notified that you have the right to institute a civil
action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq., against the
above-named respondent.

   If you choose to commence a civil action, such suit must be filed in the appy'opriate Court within 90
days of your receipt of this Notice.

  The investigative file pertaining to your case is located in the EEOC Chicago District Office,
Chicago,IL.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                          Sincerely,                            1




                                                         John M. Gore
                                                 Acting Assistant Attorney General
                                                     Civil Rishts Division

                                                 by   th""-L  l.rrr*^(\.')
                                                          Ferguson
                                                      lKaren L.                       f\-/\
                                                Supervisory Civil Rights Analyst
                                                Employment Litigation Section

cc: Chicago District Office, EEOC
  City of Chicago
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                                              FAQs      )   (http://f aq. usps.com/?article ld=220900)
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in CHICAGO, lL 60604.




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November 20,2017 at12:46 pm
Delivered, Left with lndividual
cHtcAGo, tL 60604




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